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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

                                                    )
JANE DOE,
                                                    )
                                                    )   Case No. 2:22-CV-03919
              Plaintiff,                            )
                                                    )   Judge Edmund A. Sargus
       v.                                           )
                                                    )   Magistrate Judge Kimberly A. Jolson
FAIRFIELD MEDICAL CENTER,                           )
                                                    )
              Defendant.                            )


                             RULE 26(f) REPORT OF PARTIES

       Pursuant to Fed. R. Civ. P. 26(f), a conference was held on January 11, 2022, and was
attended by:

        John M. Stephen and Sarah K. Squillante, counsel for Defendant.

        Rachel Sabo Friedmann, counsel for Plaintiff.

 Pursuant to the Court’s Opinion and Order issued on January 9, 2023 (Doc. #14), Plaintiff’s
 Motion to Proceed Anonymously has been denied and, to date, Plaintiff has not refiled her
 Complaint. Accordingly, Defendant objects to proceeding with this Rule 26 conference and the
 Preliminary Pretrial Conference currently scheduled for January 17, 2023, or setting any
 deadlines, unless and until Plaintiff refiles her Complaint. Without waiving this objection,
 however, Defendant is participating in this conference in good faith compliance with the Court’s
 order setting this matter for a Preliminary Pretrial Conference (Doc. #15). Counsel represent
 that, during the conference, they engaged in a meaningful attempt to meet and confer on the
 matters outlined below.

 Plaintiff’s counsel has reached out to her client and has not received permission to file the
 Complaint. Plaintiff is considering whether she will appeal the decision denying the Motion to
 Proceed Anonymously at this time. As the Order was just issued, she has not yet made a decision
 as to how she will move forward. As Plaintiff’s counsel does not know how her client wishes to
 move forward, it is difficult to set dates and deadlines in this case.

 1.     CONSENT TO MAGISTRATE JUDGE

 Do the parties consent to Magistrate Judge jurisdiction pursuant to 28 U.S.C. § 636(c)?

       Yes        X No


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2.         INITIAL DISCLOSURES

Have the parties agreed to make initial disclosures?

     X Yes               No       _____The proceeding is exempt under Rule 26(a)(1)(B)

If yes, such initial disclosures shall be made within 14 days after Plaintiff properly files a
Complaint in her own name, Defendant files a responsive pleading, and any motion to dismiss is
ruled upon.

3.         VENUE AND JURISDICTION

Are there any contested issues related to venue or jurisdiction?

           Yes       X No


4.         PARTIES AND PLEADINGS

      a. The parties agree that any motion or stipulation to amend the pleadings or to join
         additional parties shall be filed within 14 days after Plaintiff properly files a Complaint in
         her own name, Defendant files a responsive pleading, and any motion to dismiss is ruled
         upon.

           If the case is a class action, the parties agree that the motion for class certification shall be
      b.
           filed by N/A          .

5.         MOTIONS

      a. Are there any pending motion(s)?

                 Yes          X   No

           If yes, indicate which party filed the motion(s), and identify the motion(s) by name
           and docket number:

      b. Are the parties requesting expedited briefing on the pending motion(s)?

                 Yes              No

           If yes, identify the proposed expedited schedule:

           Opposition to be filed by               ; Reply brief to be filed by             .

6.         ISSUES

Jointly provide a brief description of case, including causes of action set forth in the complaint,
and indicate whether there is a jury demand: Plaintiff’s Complaint asserts claims of sexual
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harassment and retaliation in violation of Title VII and Ohio law. Plaintiff also asserts claims of
deliberate indifference and retaliation under Title IX. Plaintiff has demanded a jury trial.
Defendant denies liability with respect to all of Plaintiff’s claims against it. Furthermore,
Defendant objects to proceeding with this Rule 26 conference and the Preliminary Pretrial
Conference currently scheduled for January 17, 2023, or setting any deadlines, as Plaintiff has
not yet refiled her Complaint, pursuant to the Court’s January 9, 2023 Opinion and Order. (See
Doc. #14).

7.      DISCOVERY PROCEDURES

     a. The parties agree that all discovery shall be completed within eight months after Plaintiff
        properly files a Complaint in her own name, Defendant files a responsive pleading, and any
        motion to dismiss is ruled upon. The parties agree to schedule their discovery in such a
        way as to require all responses to discovery to be served prior to the cut-off date, and to
        file any motions relating to discovery within the discovery period unless it is impossible
        or impractical to do so. If the parties are unable to reach an agreement on any matter related
        to discovery, they are directed to arrange a conference with the Court. To initiate a telephone
        conference, counsel are directed to join together on one line and then call the Magistrate
        Judge’s chambers or provide the Court with a call -in number.
     b. Do the parties anticipate the production of ESI? X Yes                No

        If yes, describe the protocol for such production: The information will be produced in native
        or PDF format, at the parties’ discretion.


     c. Do the parties intend to seek a protective order or clawback agreement? Yes.

        If yes, such order or agreement shall be produced to the Court within 14 days after Plaintiff
        properly files a Complaint in her own name, Defendant files a responsive pleading, and
        any motion to dismiss is ruled upon.

8.      DISPOSITIVE MOTIONS

     a. Any dispositive motions shall be filed within one month after the discovery cutoff.

     b. Are the parties requesting expedited briefing on dispositive motions?

               Yes       X    No

        If yes, identify the proposed expedited schedule:

        Opposition to be filed by              ; Reply brief to be filed by            .

9.      EXPERT TESTIMONY

     a. Primary expert reports must be produced by 30 days after ruling on dispositive motions.

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       b. Rebuttal expert reports must be produced by 45 days after Plaintiff’s expert report
          deadline.

 10.      SETTLEMENT

 The parties have engaged in good faith settlement discussions, with multiple demands and
 counters, but have reached an impasse. The parties understand that this case will be referred to
 an attorney mediator, or to the Magistrate Judge, for a settlement conference. The Court refers
 cases to settlement throughout the year. The parties request that it be scheduled four months after
 Plaintiff properly files a Complaint in her own name, Defendant files a responsive pleading, and
 any motion to dismiss is ruled upon.

 In order for the conference to be meaningful, the parties agree to complete all discovery that may
 affect their ability to evaluate this case prior to the settlement conference. The parties
 understand that they will be expected to comply fully with the settlement conference orders
 which require, inter alia, that settlement demands and offers be exchanged prior to the
 conference and that principals of the parties attend the conference.

 11.      RULE 16 PRETRIAL CONFERENCE

Do the parties request a scheduling conference?

____ Yes, the parties would like a conference with the Court prior to it issuing a scheduling order.
The parties request that the conference take place ____ in chambers ____ by telephone.

  X     No, a conference is not necessary; the Court may issue a scheduling order after
considering this Report.

 12.      OTHER MATTERS

Indicate any other matters for the Court’s consideration: Defendant reiterates its objection to
preparation of this Report due to Plaintiff’s failure, to date, to refile her Complaint.

Plaintiff’s counsel is working to discuss the outstanding issues with her client and has provided
several options for moving forward. As of the date of this report, Plaintiff has not yet informed
Plaintiff’s counsel which route will be taken, which is why the Complaint has not been filed.
Plaintiff’s counsel understands that action needs to be taken and has urged her client to do so.




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Signatures:

 /s/ Rachel Sabo Friedmann                   /s/ Sarah K. Squillante
 Rachel Sabo Friedmann (0089226)             John M. Stephen, Trial Attorney (0022947)
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 Attorneys for Plaintiff
                                             Attorneys for Defendant


Dated: January 12, 2022




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